 Case 19-40972-JMM          Doc 46       Filed 10/13/21 Entered 10/13/21 10:33:55         Desc
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GARY L. RAINSDON
BANKRUPTCY TRUSTEE
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                           UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF IDAHO
In Re:
                                     )        CHAPTER 7
Lyone B. Overlin and                 )
Rebecca J. Overlin,                  )        CASE NO. 19-40972-JMM
                                     )
                                     )
                                     )
                Debtors.             )

                                     Trustee’s Case Report

   Date Case Filed: 10/10/19


   Matters requiring further administrations:
   Trustee is working to collect on a personal injury claim. Trustee has been in contact with the
   firm which is handling the class action, and a trial is set for January 24, 2022.

   Description of pending actions and dates of projected hearings:
   There are no pending actions.

   Projected date for filing of final accounting:
   There is currently $910.40 available in the estate. The Trustee’s Final Report is projected to be
   filed by December 31, 2022.

   Dated this: October 13, 2021


                                                                     /s/ Gary L. Rainsdon
                                                                      Gary L. Rainsdon, Trustee


cc: U.S. Trustee, ECF
